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                 Exhibit 1
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1                        UNITED STATES DISTRICT COURT
2                        MIDDLE DISTRICT OF LOUISIANA
3
4    DOROTHY NAIRNE, ET AL       *             CIVIL ACTION
                                 *
5    VERSUS                      *             NO. 3:22-178-SDD
                                 *
6    KYLE ARDOIN, ET AL          *             DECEMBER 4, 2023
                                 *
7    * * * * * * * * * * * * * * *             MORNING SESSION
8
9                                  DAY 6
                                BENCH TRIAL
10                   BEFORE THE HONORABLE SHELLY D. DICK
                     UNITED STATES CHIEF DISTRICT JUDGE
11
12
13   APPEARANCES:
14   FOR THE PLAINTIFFS:              AMERICAN CIVIL LIBERTIES UNION
                                      FOUNDATION
15                                    BY: MEGAN C. KEENAN, ESQ.
                                           SARAH E. BRANNON, ESQ.
16                                         DAYTON CAMPBELL-HARRIS, ESQ.
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17                                    WASHINGTON, DC 20005
18                                    NAACP LEGAL DEFENSE & EDUCATION
                                      FUND, INCORPORATED
19                                    BY: VICTORIA WENGER, ESQ.
                                           SARA ROHANI, ESQ.
20                                         STUART C. NAIFEH, ESQ.
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21                                    NEW YORK, NEW YORK 10006
22                                    COZEN O'CONNOR
                                      BY: JOSEPHINE M. BAHN, ESQ.
23                                    1200 19TH STREET, NW
                                      THIRD FLOOR
24                                    WASHINGTON, DC 20036
25
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1                                     COZEN O'CONNOR
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2                                     ONE LIBERTY PLACE
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3                                     PHILADELPHIA, PENNSYLVANIA 19103
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     KYLE ARDOIN, IN HIS              LLP
14   OFFICIAL CAPACITY AS             BY: PHILLIP J. STRACH, ESQ.
     SECRETARY OF STATE:                   THOMAS A. FARR, ESQ.
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                                           ALYSSA M. RIGGINS, ESQ.
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                                      COLUMBUS, OHIO 43215
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25
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                                                                           3




1                                     BAKER & HOSTETLER, LLP
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                                      HOUSTON, TEXAS 77002
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4    STATE OF LOUISIANA BY AND        TORCHINSKY, PLLC
     THROUGH ATTORNEY GENERAL         BY: BRENNAN BOWEN, ESQ.
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                                      HOLTZMAN VOGEL JOSEFIAK
7                                     TORCHINSKY, PLLC
                                      BY: PHILLIP M. GORDON, ESQ.
8                                     15404 JOHN MARSHALL HIGHWAY
                                      HAYMARKET, VIRGINIA 20169
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                                      LOUISIANA DEPARTMENT OF JUSTICE
10                                    BY: ANGELIQUE D. FREEL, ESQ.
                                           JEFFREY M. WALE, ESQ.
11                                         AMANDA M. LAGROUE, ESQ.
                                      1885 N. THIRD STREET
12                                    BATON ROUGE, LOUISIANA 70804
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     OFFICIAL COURT REPORTER:         SHANNON L. THOMPSON, CCR
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16                                    (225)389-3567
17          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY USING
                   COMPUTER-AIDED TRANSCRIPTION SOFTWARE
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          MICHAEL BARBER, PH.D.




09:19 1   WHO ARE HELD IN THE SAME DISTRICT FROM THE PREVIOUS MAP TO THE
      2   NEW MAP DISTRICT BY DISTRICT.
      3   Q.    DID MR. COOPER DO A CORE RETENTION ANALYSIS FOR HIS
      4   ILLUSTRATIVE MAPS?
      5   A.    HE HAS A REFERENCE TO CORE RETENTION, BUT IT'S IN
      6   REFERENCE TO THE DEGREE TO WHICH THE ILLUSTRATIVE MAP RETAINS
      7   THE ENACTED MAP, THE 2022 MAP.
      8               I CALCULATE CORE RETENTION TO THE DEGREE TO WHICH THE
      9   ENACTED MAP AND THE ILLUSTRATIVE MAP RETAIN THE 2011 MAP, WHICH
     10   I THINK IS THE MORE APT COMPARISON SINCE THAT'S THE DISTRICTS
     11   THAT THE VOTERS ARE COMING FROM IN THE PREVIOUS DECADE.
     12               SO WE WOULD WANT TO KNOW WHETHER THE ENACTED MAP IS
     13   THE ONE THAT GOES FORWARD OR THE ILLUSTRATIVE MAP IS
     14   IMPLEMENTED.    WE WOULD WANT TO KNOW THE DEGREE TO WHICH VOTERS
     15   FROM THE PREVIOUS DECADE ARE RETAINED INTO THE DISTRICTS THAT
     16   ARE GOING TO BE USED GOING FORWARD.
     17   Q.    OKAY.   AND COULD CORE RETENTION BE AN EXPLANATION FOR WHY
     18   MR. COOPER'S ILLUSTRATIVE MAPS CONTAIN MORE MAJORITY-BLACK
     19   VOTING AGE POPULATION DISTRICTS THAN THE SIMULATIONS OR THE
     20   ENACTED MAPS?
     21               MR. NAIFEH:      OBJECTION.    THAT'S ASKING FOR MR.
     22   COOPER'S INTENT AGAIN.
     23               MR. FARR:    MAY I BE HEARD ON THAT, YOUR HONOR?
     24               THE COURT:       YES, YOU MAY.
     25               MR. FARR:    I SHOULD HAVE SAID THIS EARLIER, YOUR
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          MICHAEL BARBER, PH.D.




09:20 1   HONOR, BUT I WANT TO MAKE THE POINT THAT THE PLAINTIFFS IN THIS
      2   CASE FILED A DAUBERT MOTION ON DR. JOHNSON TESTIFYING ABOUT THE
      3   SUBJECTIVE INTENT OF MR. COOPER.        THEY DIDN'T FILE A DAUBERT
      4   MOTION ON DR. BARBER.
      5                     I WILL SUGGEST TO YOU, YOUR HONOR, THE REASON
      6   WHY THEY DIDN'T DO THAT IS -- WE'VE CITED TO A BRIEF IN OUR
      7   FINDINGS OF FACT AT DOCUMENT 177, PAGE 34, NOTE 5, THAT WAS
      8   FILED BY MS. THOMAS'S ORGANIZATION, THE HARVARD LAW ELECTION
      9   SCHOOL CLINIC, WITH THE UNITED STATES SUPREME COURT IN THE
     10   SOUTH CAROLINA CASE.
     11                     AND I WON'T QUOTE IT BECAUSE WE'VE CITED IT TO
     12   YOU, BUT THERE'S A LENGTHY DISCUSSION IN THIS CASE ABOUT WHY
     13   SIMULATIONS ARE RELEVANT EVIDENCE ON THE INTENT OF THE MAP
     14   DRAWER IN A RACIAL CASE WHERE THERE'S A CLAIM OF RACIAL
     15   GERRYMANDERING.
     16                     SO THEY WERE AWARE OF THIS BRIEF AT THE TIME
     17   THAT THE DAUBERT MOTION WAS FILED.        NO DAUBERT MOTION WAS
     18   FILED.    AND THEN AFTERWARDS, YOUR HONOR, THERE WAS A
     19   STIPULATION ENTERED IN THIS CASE.        AND I'LL TRY TO QUOTE IT THE
     20   BEST I CAN.    I THINK IT'S DOCUMENT 182.        BUT THE STIPULATION
     21   SAYS THAT THE EXPERT REPORTS OF ALL THE EXPERTS WOULD COME INTO
     22   EVIDENCE WITHOUT ANY OBJECTION AS TO THE AUTHENTICITY OR THE
     23   ADMISSIBILITY IF THE EXPERT APPEARED TO TESTIFY.            THAT
     24   STIPULATION DID NOT SAY IF THE EXPERT APPEARS TO TESTIFY AND
     25   HE'S QUALIFIED AS AN EXPERT.       IT DID NOT SAY THAT THE REPORT
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          MICHAEL BARBER, PH.D.




09:22 1   COMES INTO EVIDENCE SUBJECT TO SUBSEQUENT MOTIONS TO STRIKE
      2   TESTIMONY IN THE REPORT.         IT SAYS THE REPORTS IN EVIDENCE.
      3                     SO THE PLAINTIFFS HAVE, IN OUR VIEW, WAIVED ANY
      4   RIGHT TO OBJECT TO THIS TESTIMONY BY DR. BARBER.              IN ANY CASE,
      5   AGAIN, THIS IS NOT TESTIMONY ABOUT MR. COOPER'S SUBJECTED
      6   INTENT.    HE'S NEVER MENTIONED MR. COOPER.          HE'S NEVER -- UNLIKE
      7   --
      8               THE COURT:       YOUR QUESTION MENTIONS MR. COOPER.
      9               MR. FARR:    WHAT'S THAT?
     10               THE COURT:       YOUR QUESTION MENTIONS MR. COOPER.         AND
     11   SO IF -- YOU ARE ONE STEP REMOVED, PERHAPS, FROM CALLING FOR
     12   INTENT.    YOUR QUESTION DOESN'T CALL FOR INTENT, BUT YOUR
     13   QUESTION CALLS FOR WHAT IS THE CONCLUSION THAT YOU DRAW ABOUT
     14   MR. COOPER'S MAPS.
     15               MR. FARR:    WELL, OKAY, YOUR HONOR, THEN I'M GOING TO
     16   HAVE TO READ --
     17               THE COURT:       AND THAT QUESTION --
     18               MR. FARR:    -- THE REPORT OR THE BRIEF THAT WAS
     19   SUBMITTED BY --
     20               THE COURT:       YOU DON'T NEED TO DO THAT.
     21               MR. FARR:    WELL, I NEED TO MAKE A RECORD, YOUR HONOR.
     22   IT'S IMPORTANT FOR YOU TO UNDERSTAND THIS, IF I MAY HAVE YOUR
     23   PERMISSION, BECAUSE IT EXPLAINS BETTER.            THEY HAVE EXPLAINED
     24   BETTER THAN I HAVE BEEN ABLE TO DO, WHY THIS IS RELEVANT
     25   TESTIMONY.
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                                                                                     19

          MICHAEL BARBER, PH.D.




09:24 1                THE COURT:      IT IS IN THE RECORD.     THERE IS A RECORD.
      2   I AM OVERRULING THE OBJECTION.         ASK YOUR QUESTION AGAIN.
      3   BY MR. FARR:
      4   Q.    ALL RIGHT, DR. BARBER.        DID YOU COMPARE THE CORE RETENTION
      5   FIGURES FOR MR. COOPER'S MAP AND FOR THE ENACTED PLAN?
      6   A.    YES.
      7   Q.    WHICH ONE OF THOSE PLANS PERFORMED BETTER?
      8   A.    THE ENACTED MAP.
      9   Q.    CAN YOU TURN TO PAGE 1 OF SECRETARY OF EXHIBIT -- OR
     10   EXCUSE ME, PAGE 26 OF SECRETARY EXHIBIT 1, TABLE 5.
     11                AND CAN YOU TELL THE COURT WHAT THAT TABLE IS,
     12   PLEASE.
     13   A.    SO THIS TABLE SHOWS THE RESULTS OF THE CORE RETENTION
     14   ANALYSIS.     YOU CAN SEE, THE ROWS SHOW THE VARIOUS RANGES OF
     15   CORE RETENTION:     THE ENACTED MAP, AND THE NUMBER OF DISTRICTS
     16   THAT FALL IN THOSE RANGES FOR THE SENATE; AND THE ILLUSTRATIVE
     17   MAP, AND THE NUMBER OF DISTRICTS THAT FALL WITHIN THOSE RANGES.
     18   AND THEN AT THE BOTTOM, THE AVERAGE CORE RETENTION IN EACH OF
     19   THE MAPS.
     20   Q.    ALL RIGHT.    NOW, LET'S TURN TO SECRETARY OF STATE'S
     21   EXHIBIT 1, PAGE 65, TABLE 12.
     22                AND CAN TELL YOU THE COURT WHAT THAT TABLE IS.
     23   A.    THIS TABLE SHOWS THE SAME ANALYSIS FOR THE HOUSE.                 SO WE
     24   HAVE, AGAIN, CORE RETENTION AND THE VARIOUS RANGES FOR THE
     25   ENACTED MAP AND THE ILLUSTRATIVE HOUSE MAP.            AND AT THE BOTTOM
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11:15 1                     THE COURT IS AT RECESS.
      2    (WHEREUPON, A PROFFER WAS MADE OUTSIDE THE PRESENCE OF THE
      3    COURT.   THE PROFFER IS FILED IN A SEPARATE TRANSCRIPT.)
      4                                     * * *
      5                                  CERTIFICATE
      6          I, SHANNON THOMPSON, CCR, OFFICIAL COURT REPORTER FOR THE
      7    UNITED STATES DISTRICT COURT, MIDDLE DISTRICT OF LOUISIANA,
      8    CERTIFY THAT THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT, TO
      9    THE BEST OF MY ABILITY AND UNDERSTANDING, FROM THE RECORD OF
     10    PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.
     11
     12
                                           S
                                           ______________________
     13                                    SHANNON THOMPSON, CCR
     14                                    OFFICIAL COURT REPORTER
     15
     16
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